SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

This agreement, along with all exhibits hereto (collectively, the “Settlement
Agreement”), is entered into by and between Cerner Corporation as well as its predecessors,
successors, subsidiaries, and affiliated entities (‘“Cerner” or “Defendant’”), on the one
hand, and Fred Speer and Mike McGuirk (“Class Representatives”), for themselves and on
behalf of all FLSA Opt-in Plaintiffs and Rule 23 Class Members,’ on the other hand
(collectively “Plaintiffs”), in the case of Fred Speer and Mike McGuirk, individually and on
behalf of others similarly situated v. Cerner Corporation, Case No. 4:14-CV-00204-FIG, filed in
the United States District Court of the Western District of Missouri (the “Lawsuit”).

RECITALS

WHEREAS, the Class Representatives filed this Fair Labor Standards Act (“FLSA”), 29
U.S.C. § 216(b) collective action and class action under Federal Rule of Civil Procedure 23
(“Rule 23”) to recover unpaid overtime wages against Defendant on March 4, 2014 (Doc. 1) and
an Amended Complaint reasserting those same claims on January 14, 2015 (Doc. 39);

WHEREAS, Defendant filed Answers denying the material allegations in the Complaint
and Amended Complaint on April 7, 2014, and January 28, 2015, respectively (Docs. 4, 47);

WHEREAS, over the course of the litigation, the parties have engaged in substantial
discovery and exchange of information, including electronic pay and time data for every class
member, and conducted numerous depositions;

WHEREAS, pursuant to 29 U.S.C. § 216(b), the Court conditionally certified two FLSA

collective classes for purposes of pursuing Plaintiffs’ federal late overtime (“FLSA Late

 

' Initial caps are used to reflect terms defined within this Settlement Agreement.

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Overtime”) and miscalculated overtime (“FLSA Miscalculated Overtime”) claims in the Lawsuit
on March 30, 2016 (Doc. 165);

WHEREAS, approximately 359 individuals, including the Class Representatives, opted
into the FLSA collective action (“FLSA Opt-in Plaintiffs”);

WHEREAS, the Court certified the following three Rule 23 classes of Missouri
employees, on September 27, 2016, to pursue Missouri state law claims for unpaid overtime: (1)
All non-exempt persons employed by Cerner in Missouri, at any time since March 5, 2012,
through the final judgment in this matter, whose overtime compensation was not paid on the next
regular payday for the period in which the overtime work was performed (“Late Payment of
Overtime Class”); (2) All non-exempt persons employed by Cerner in Missouri, at any time
since March 5, 2012, through the final judgment in this matter, who received overtime
compensation that was calculated based upon a “regular rate” of pay that excluded On-Call Pay,
Wellness Incentive Bonuses, Night Differentials, Security Differentials - ARM, Retro Wellness
Incentives, and/or Holiday Differential Pay (“Miscalculated Overtime Class”); and (3) All non-
exempt persons employed by Cerner in Missouri, at any time since March 5, 2012, through the
final judgment in this matter, who were purportedly compensated based on the fluctuating
workweek method of pay and: (i) whose overtime compensation was not paid on the next regular
payday for the period in which the overtime work was performed; and/or (ii) who were paid
additional compensation beyond their “fixed” salary (“Fluctuating Work Week Class”). (Doc.
215);

WHEREAS, on May 4, 2017, Plaintiffs administered notice to 3,192 individuals in the

three Rule 23 classes (Doc. 249) and received opt-out requests from 14 individuals, leaving

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approximately 3,178 individuals in the Rule 23 classes (collectively “Rule 23 Class Members”)
(Doc. 250);

WHEREAS, in discovery and also in connection with mediations and settlement
discussions throughout the course of the litigation, the parties exchanged substantial information,
data, and documents necessary to fully and fairly evaluate the claims of putative class members,
including comprehensive data for all FLSA Opt-in Plaintiffs and Rule 23 Class Members;

WHEREAS, after participating in two unsuccessful mediations in August 2014 and June
2016, the parties participated in a third mediation on August 18, 2017, in Kansas City, Missouri,
with private mediator, Hunter Hughes. The parties reached an agreement fully and finally
settling the claims in the Lawsuit (the “Settlement’”’), and hereby reduce those terms to a formal
agreement for Court approval;

WHEREAS, Defendant denies all the allegations in the Lawsuit and any and all liability
and damages of any kind to anyone with respect to these alleged facts or causes of action
asserted in the Lawsuit, but nonetheless, without admitting or conceding any liability or damages
whatsoever, has agreed to settle the Lawsuit on the terms and conditions set forth in this
Settlement Agreement to avoid the burden, expense, and uncertainty of continuing the Lawsuit;

WHEREAS, the parties recognize that the outcome in the Lawsuit is uncertain and that
achieving the final result through the litigation process would require substantial additional risk,
discovery, time, and expense to both parties;

WHEREAS, the Class Representatives and their counsel have conducted an investigation
and evaluation of the facts and law relating to the claims asserted in the Lawsuit to determine
how best to serve the interests of all class members and believe, in view of the costs, risks, and

delay of continued litigation balanced against the benefits of settlement, that the settlement as

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provided in this Settlement Agreement is in the best interests of all and that the settlement
provided in this Settlement Agreement represents a fair, reasonable, and adequate resolution of
the Lawsuit; and

WHEREAS, the parties have agreed to settle this case as to all FLSA Opt-in Plaintiffs
and all Rule 23 Class Members.

NOW THEREFORE, the parties, intending to be legally bound and in consideration of
the mutual covenants and other good and valuable consideration set forth below, do hereby agree
as follows:

AGREEMENT

1. Settlement. It is agreed by and among the parties that this Lawsuit and all state
and federal wage and hour claims that were or could have been brought in this Lawsuit, be
settled and compromised as between the FLSA Opt-in Plaintiffs and Rule 23 Class Members on
the one hand, and Defendant on the other hand, subject to court approval and pursuant to the

terms and conditions set forth in this Settlement Agreement.

 

2. Settlement Total Available To Class. This is a claims-made reversionary
settlement as to all FLSA Opt-in Plaintiffs and Rule 23 Class Members, in which only Rule 23
Class Members who did not previously return an FLSA opt-in consent form must return a claim
form, acknowledging that they consent to release both federal and Missouri state law claims, to
receive a proportionate share. The gross fund, excluding Approved Attorneys’ Fees and Costs,
shall equal four million, five hundred thousand dollars ($4,500,000.00) (“Settlement Total

Available to Class”).

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3. Payments Allocated to Class Members. The Settlement Total Available to
Class is allocated to FLSA Opt-in Plaintiffs and Rule 23 Class Members as follows:”

(a) “Minimum Allocation”. From the Settlement Total Available to Class,
each FLSA Opt-in Plaintiff and each Rule 23 Class Member shall be allocated two hundred and
fifty dollars ($250.00) as a minimum amount in exchange for their release of claims asserted in
this Lawsuit (“Minimum Allocation”). FLSA Opt-in Plaintiffs who are also Rule 23 Class
Members are each allocated only one (1) two-hundred-and-fifty dollar ($250.00) Minimum
Allocation.’

(b) “Net Settlement Total Available to Class”. The Settlement Total
Available to Class ($4,500,000), minus Approved Service Awards (described in Paragraph 4),
minus the Total Minimum Allocation, equals the Net Settlement Total Available to Class. This
Net Settlement Total Available to Class shall be allocated as follows:

(i) Rule 23 Class Members & Missouri-based FLSA Opt-in Plaintiffs.
a) Rule 23 Late Overtime Class Members, which also includes all
FLSA Late Overtime Opt-in Plaintiffs who worked at least one
workweek in the SNE pay group in Missouri, (collectively “Rule

23 Late Overtime Class Members”) shall each receive one (1)

point for each overtime dollar Cerner paid to them on a fluctuating
workweek basis (e.g. while designated as “SNE” pay group)

between March 5, 2012-June 3, 2014; plus

 

* As described in Paragraph 8, Rule 23 Class Members who did not previously opt into the FLSA
collective action are required to return a claim form agreeing to release both state and federal
claims in order to receive their eligible allocation of the Settlement Total Available to Class.

> The Minimum Allocation is intended to compensate for release of the FLSA and Rule 23
Miscalculated Overtime claims.

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b) Rule 23 Fluctuating Work Week Class Members, which also
includes all FLSA Opt-in Plaintiffs who worked at least one
workweek in the SNE pay group in Missouri, (collectively “Rule
23 Fluctuating Work Week Class Members”), who earned ON3,
NDF, or ARM at any time since March 5, 2012, shall each receive
three (3) points for each overtime dollar Cerner paid to them on a
fluctuating workweek basis (e.g. while designated as “SNE” pay
group) between March 5, 2012-April 8, 2016.

(ii) FLSA Opt-in Plaintiffs Outside Missouri.

a) FLSA Late Overtime Opt-in Plaintiffs who work(ed) exclusively
outside of Missouri, each receive one (1) point for each overtime
dollar Cerner paid to them on a fluctuating workweek basis (e.g.
while designated as “SNE” pay group) between September 7,
2012-June 3, 2014; plus

b) FLSA Opt-in Plaintiffs who work(ed) exclusively outside of
Missouri, who earned ON3, NDF, or ARM at any time since
September 7, 2012, shall each receive three (3) points for each
overtime dollar Cerner paid to them on a fluctuating workweek
basis (e.g. while designated as “SNE” pay group) between
September 7, 2012-April 8, 2016.

(iii) | Pro Rata Share. The points for all Rule 23 Class Members and FLSA

Opt-in Plaintiffs are totaled, and each individual’s points are divided

by the total number of all points to determine his/her percentage

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allocation of the Net Settlement Total Available to Class. Each Rule
23 Class Member and FLSA Opt-in Plaintiff is allocated a pro rata
share of the Net Settlement Total Available to Class (“Pro Rata
Share”).
(c) Eligible Settlement Amount. Following Court approval, each Rule 23
Class Member and FLSA Opt-in Plaintiff is eligible to receive a Minimum Allocation, plus his or
her Pro Rata Share of the Net Settlement Total Available to Class, plus any Approved Service
Award (“Eligible Settlement Amount”). In order to receive the Eligible Settlement Amount,
Rule 23 Class Members who did not previously opt into the FLSA collective action must return a
claim form, as described in Paragraph 8. FLSA Opt-in Plaintiffs are not required to return a
claim form and will automatically receive their Eligible Settlement Amount following Court
approval.

4. Service Awards. The two Class Representatives will each receive a service
award, subject to Court approval, in an amount not to exceed seven thousand, five hundred
dollars ($7,500) (“Service Awards”). Defendant does not oppose the amount of these Service
Awards. The Service Awards will be deducted from the Settlement Total Available to Class
($4,500,000). The enforceability and binding nature of this Settlement Agreement shall not be
impacted in any manner in the event that the Court refuses to award the entire amount sought by
the Class Representatives for the Service Awards.

5. Reasonable Attorneys’ Fees and Costs. Class Counsel Davis George Mook
LLC and Reavey Law LLC will apply for an award of attorneys’ fees (including costs, as
described below) to be approved by the Court to the extent it deems such award and amount

reasonable. The application for fees shall not exceed two million dollars ($2,000,000) inclusive

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of costs and expenses but exclusive of the Settlement Administrator costs to administer the
settlement. Defendant does not oppose such application and waives any right to appeal the
Court’s fee and/or Service Awards, provided such awards do not exceed the amounts listed in
this Settlement Agreement. Defendant shall not have any responsibility for allocating or
distributing either the fees or the costs and expenses among Class Counsel. The Settlement
Administrator shall report the payment to Class Counsel using an IRS Form 1099. The
enforceability and binding nature of this Settlement Agreement shall not be impacted in any
manner in the event that the Court rejects Class Counsel’s application for fees and costs or
awards an amount less than requested.

6. Settlement Approval Process.

 

(a) Cooperation & Good Faith. The parties will cooperate and will act in
good faith to file the preliminary approval papers no later than November 3, 2017.

(b) Joint Motion for Preliminary Settlement Approval. After all parties
have executed this Settlement Agreement, Class Counsel shall present this Settlement Agreement
to the Court, along with a Joint Motion for Preliminary Approval of Settlement, which shall
include or seek the following:

(i) Preliminary approval of the Settlement memorialized in this
Settlement Agreement as fair, reasonable, and adequate;
(ii) Final Certification for settlement purposes of a collective action under
29 U.S.C. § 216(b) of the Fair Labor Standards Act;
(iii) | Approval of the Notice and Claim Form substantially in the form of
Exhibit A, for distribution to all Rule 23 Class Members who did not

opt into the FLSA collective action;

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(iv) Approval of the Notice substantially in the form of Exhibit B for
distribution to all FLSA Opt-in Plaintiffs who are also Rule 23 class
members (i.e., FLSA opt-ins who worked in Missouri);

(v) Approval of the Notice substantially in the form of Exhibit C for
distribution to all FLSA Opt-in Plaintiffs who are not Rule 23 class
members (i.e, FLSA opt-ins who worked exclusively outside of
Missouri);

(vi) A direction to the Settlement Administrator to distribute the Notices in
the form approved by the Court to all Rule 23 Class Members and all
FLSA Opt-in Plaintiffs;

(vii) A finding that the Notice to be given constitutes the best notice
practicable under the circumstances, including individual notice to all
Class Members who can be identified with reasonable effort, and
constitutes valid, due, and sufficient notice to Class Members in full
compliance with the requirements of applicable law, including the due
process clause of the United States Constitution;

(viii) A direction that each Rule 23 Class Member who did not opt into the
FLSA collective action and who wishes to make a claim under this
Settlement must return a signed claim form per the instructions set
forth in the Notice, acknowledging that his/her participation will result
in the release of both his/her federal and state claims, and that his/her

claim form must be post-marked and addressed to or received by the

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Settlement Administrator or Class Counsel within sixty (60) days
following mailing of the Notice;

(ix) A direction that each Rule 23 Class Member who wishes to be
excluded from the Settlement must opt-out per the instructions set
forth in the Notice, and that his/her opt-out request must be received
by the date set forth in the Preliminary Approval Order;

(x) A direction that any Rule 23 Class Member who has not properly and
timely requested exclusion from the Settlement shall be bound in the
event the Court issues a Final Order Approving Settlement;

(xi) A direction enjoining Rule 23 Class Members from filing or
prosecuting any claims, suits or administrative proceedings regarding
claims released by the Settlement Agreement unless and until such
Rule 23 Class Members have filed valid exclusion forms with the
Settlement Administrator and the time for filing claims with the
Settlement Administrator has elapsed;

(xii) The scheduling of a Fairness Hearing to determine whether this
Settlement Agreement should be approved as fair, reasonable, and
adequate and whether the proposed Final Order Approving Settlement
should be entered;

(xiii) A direction that Class Counsel shall catalog written requests received
from Rule 23 Class Members asking to be excluded from the

Settlement and shall report the names and addresses of such persons to

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the Court and to Defendant no less than ten (10) days before the
Fairness Hearing;

(xiv) A direction that Class Counsel shall file both a Fee and Expense
Application and a Service Award Application twenty-one (21) days
prior to the Fairness Hearing;

(xv) A direction that any supplemental brief in support of final approval of
the Settlement Agreement or in response to any objection to the
application for attorneys’ fees or Service Awards shall be filed seven
(7) days before the Fairness Hearing;

(xvi) A direction that the Court shall determine at the Fairness Hearing in
what amount attorneys’ fees (inclusive of costs and expenses but
exclusive of the Settlement Administrator costs to administer the
settlement) should be awarded to Class Counsel and in what amount
Service Awards will be awarded to Class Representatives; and

(xvii) A direction that any Rule 23 Class Member who wishes to object in
any way to the proposed Settlement Agreement must file and serve
such written objections per the instructions set forth in the Notice no
later than sixty (60) days after the mailing of the Notice, together with
copies of all papers in support of his or her position. The Rule 23
Class Notice shall state that the Court will not consider objections of
any Class Member who has not properly served copies of his or her

objections on a timely basis.

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(c) Objection to Settlement. Any Rule 23 Class Member who intends to
object to the fairness of the Settlement Agreement must, by the date specified in the Preliminary
Approval Order (which shall be sixty (60) days after the mailing of the Class Notice), which
shall be no less than fifteen (15) business days before the Fairness Hearing, file any such
objection with the Clerk of the Court for the United States District Court, Western District of
Missouri and provide copies of the objection to: Tracey George, Davis George Mook LLC, 1600
Genessee St., Suite 328, Kansas City, MO 64102 and to Amy Crouch, Shook, Hardy & Bacon
L.L.P., 2555 Grand Blvd., Kansas City, MO 64108.

. Any objection to the Settlement Agreement must include: (i) the objector’s full name,
address, and telephone number; (ii) the objector’s Cerner Associate I.D. number; (iii) a written
statement of all grounds for the objection accompanied by any legal support for such objection;
(iv) copies of any papers, briefs, or other documents upon which the objection is based; (v) a list
of all persons who will be called to testify in support of the objection; (vi) a statement whether
the objector intends to appear at the Fairness Hearing; and (vii) the objector’s signature, even if
(s)he is represented by counsel. If the objector intends to appear at the Fairness Hearing through
counsel, the objection must also state the identity of all attorneys representing the objector who
will appear at the Fairness Hearing.

Any Rule 23 Class Member who does not file a timely written objection to the settlement
and notice of his or her intent to appear at the Fairness Hearing shall be foreclosed from seeking
any adjudication or review of the settlement by appeal or otherwise.

(d) Request for Exclusion. Any Rule 23 Class Member who wishes to be
excluded from the Settlement must submit a request for exclusion to the address specified in the

Class Notice by the date specified in the Preliminary Approval Order (which shall be sixty (60)

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days after the mailing of the Notice), which shall be no less than fifteen (15) business days
before the Fairness Hearing. To be effective, the request for exclusion must (i) include the Class
Member’s full name, address, and telephone number, (ii) include the Class Member’s Cerner
Associate I.D. number, and, (iii) specifically state his or her desire to be excluded from the
Settlement in Fred Speer and Mike McGuirk, individually and on behalf of others similarly
situated v. Cerner Corporation, Case No, 4:14-cv-00204-FJG.

Any Rule 23 Class Member who fails to submit a timely request to be excluded shall be
subject to and bound by this Settlement Agreement and every order or judgment entered pursuant
to this Settlement Agreement.

(e) Fairness Hearing. On the date set forth in the Preliminary Approval
Order, a Fairness Hearing will be held at which the Court will: (i) decide whether to approve the
Settlement Agreement as fair, reasonable, and adequate, and (ii) decide any petitions for
attorneys’ fees and costs and applications for Service Awards to Class Representatives.

If this Settlement Agreement is finally approved by the Court, a Final Order Approving
Settlement and directing the entry of judgment pursuant to the Federal Rule of Civil Procedure
54(b) shall be entered as follows:

(i) Approving the Settlement Agreement as fair, reasonable, and adequate as it
applies to the Rule 23 Class and FLSA Opt-in Plaintiffs;
(ii) Declaring the Settlement Agreement to be binding on Defendant and the
Class Representatives, as well as all of the FLSA Opt-in Plaintiffs and each
Rule 23 Class Member who has not been excluded;
(ii) Dismissing with prejudice the released claims and permanently barring and

enjoining all FLSA Opt-in Plaintiffs and each Rule 23 Class Members who

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has not been excluded from filing or prosecuting against Defendant any
claims according to the applicable releases described in this Settlement
Agreement;

(iv) Dismissing without prejudice the claims of Rule 23 Class Members who
have properly and timely excluded themselves in full accordance with the
procedures set forth in this Settlement Agreement;

(v) Forever discharging Defendant from all released claims; and

(vi) Indicating the amount of attorneys’ fees and expenses to be awarded to
Class Counsel and the amount of the Class Representatives’ Service
Awards.

i Settlement Administrator. If the Court grants preliminary approval of this
Settlement Agreement, the settlement will be administered by the lowest bidder of Analytics,
Inc. or Class Action Administration LLC, third-party administrators (‘Settlement
Administrator”). Fees and expenses of the Settlement Administrator shall be paid directly by
Defendant.

8. Settlement Administration. The parties agree to the following procedure for
settlement administration:

(a) Class Data. All data and information provided pursuant to this Settlement
Agreement shall be designated and treated as “Strictly Confidential” pursuant to the Protective
Order entered in this case on December 12, 2014. Class Counsel shall be responsible for
obtaining acknowledgement from the Settlement Administrator and otherwise ensuring that all
terms of the Protective Order are upheld. Within ten (10) business days after the Court

preliminarily approves the Settlement Agreement, or fourteen (14) days after the parties file their

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motion for preliminary approval of this Settlement Agreement, whichever date is later,

Defendant will provide (in a secure fashion) updated names, last known addresses and phone

numbers (if available) of Rule 23 Class Members to the Settlement Administrator and Class

Counsel (“Contact Information”). Within the same time, Defendant will provide (in a secure

fashion) the information identified below to the Settlement Administrator to enable the

Settlement Administrator to obtain current Contact Information and perform the calculations

specified in Paragraph 3, including:

@)

(ii)

For each Rule 23 Class Member (which includes FLSA Opt-in
Plaintiffs who worked in Missouri): (1) social security number, (2)
state(s) of employment, (3) start and end dates of employment or
“SNE” classification, (4) total overtime dollars Cerner paid to him/her
on a fluctuating workweek basis (e.g. while designated as “SNE” pay
group) between March 5, 2012-June 3, 2014, (5) if (s)he earned ON3,
NDF, or ARM at any time since March 5, 2012, total overtime dollars
Cerner paid to him/her on a fluctuating workweek basis (e.g. while
designated as “SNE” pay group) between March 5, 2012-April 8,
2016.

For each FLSA Opt-in Plaintiff who worked exclusively outside of
Missouri: (1) social security number, (2) state of employment, (3) start
and end dates of employment or “SNE” classification, (4) total
overtime dollars Cerner paid to him/her on a fluctuating workweek
basis (e.g. while designated as “SNE” pay group) between September

7, 2012-June 3, 2014, (5) if (s)he earned ON3, NDF, or ARM at any

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time since September 7, 2012, total overtime dollars Cerner paid to
him/her on a fluctuating workweek basis (e.g. while designated as
“SNE” pay group) between September 7, 2012-April 8, 2016.
Within the same time, Defendant shall provide to Class Counsel (in a secure fashion) complete,
updated electronic payroll data, in Microsoft Excel format, for all FLSA Opt-in Plaintiffs and
Rule 23 Class Members, sufficient to enable Class Counsel to independently verify the total
overtime dollar calculations provided to the Settlement Administrator.

All information provided by Defendant must be maintained in a secure manner,
shall be held in confidence, and shall be used solely for purposes of effectuating this Settlement
Agreement. The Settlement Administrator will make reasonable efforts to obtain valid, current
addresses for Notice Class Members through the national change of address database. For each
Rule 23 Class Member and FLSA Opt-in Plaintiff whose Notice is returned as undeliverable, a
skip trace will be performed with one re-mailing.

Within ten business days of the Court finally dismissing this action following
completion of the Settlement, all data and information provided by Defendant to Class Counsel
and/or the Settlement Administrator (at any time during the course of this litigation) shall be
returned or destroyed and written confirmation of such action must be provided to Defendant.

(b) Settlement Calculations. Upon receipt of the information specified in the
previous subparagraph, the Settlement Administrator shall calculate the Eligible Settlement
Amount for each Rule 23 Class Member and FLSA Opt-in Plaintiff and also update/verify each
individual’s Contact Information. The settlement allocations shall be calculated pursuant to the
formula provided in Paragraph 3 of this Settlement Agreement, and the Settlement Administrator

shall provide the calculations to Class and Defendant’s Counsel for review and approval within

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seven (7) days of receipt of the information specified in the previous subparagraph. Class and

Defendant’s Counsel must raise any objections to such calculations within five (5) business days

of receipt of the calculations from the Settlement Administrator. If the objection(s) cannot be

resolved by the parties and the Settlement Administrator within five (5) business days of being

raised, the parties will present the objection(s) to the Court within five (5) business days for

resolution. The resulting calculations will be final (“Final Settlement Calculations”). Within

five (5) days of the Court’s Final Order Approving Settlement, the Settlement Administrator will

provide Class and Defendant’s Counsel with a statement showing all amounts owed to create the

Settlement Fund (the “Settlement Fund Statement”). The Settlement Fund Statement shall not

disclose the names of Rule 23 Claimants.

(c)
(i)

Issuance of Notice and Claim Form.

Within ten (10) days of obtaining Final Settlement Calculations, the
Settlement Administrator shall mail the Rule 23 Notice of Settlement
(“Rule 23 Notice”) in a form substantially similar to what is attached
hereto and made part of this Settlement Agreement as Exhibit A to all
Rule 23 Class Members who did not previously opt into this lawsuit,
e.g., the Rule 23 Class Members excluding all FLSA Opt-In Plaintiffs.
The Rule 23 Notice shall inform each Rule 23 Class Member of
his/her right to opt-out of the Settlement and the Eligible Settlement
Amount he/she may be entitled to receive if (s)he chooses to
participate in the Settlement. The Rule 23 Notice shall state at the top,
“You Are Eligible To Participate In This Settlement Even If You

Signed Cemer’s Arbitration Agreement.” The Rule 23 Notice shall

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also state, “Cerner will not be informed of the identity of those who
choose to participate.” Class and Defendant’s Counsel agree that
Cerner may have a need to obtain identifying information in the future,
including if litigation related to the matters addressed in this
Settlement Agreement is threatened or filed against Cerner in the
future. If such a situation arises, Class and Defendant’s Counsel agree
to work together to resolve the matter. If they are unable to do so,
Class and Defendant’s Counsel agree to submit the matter for
resolution to Hunter Hughes.

(11) Eee Rule 23 Notice shall include a Settlement Claim Form (“Rule 23
Claim Form”) in a form substantially similar to what is attached hereto
and made part of this Settlement Agreement, along with the Rule 23
Notice. The Rule 23 Claim Form shall provide a mechanism for each
Rule 23 Class Member to affirm by signature that he/she wishes to
make a claim against the Settlement Fund, that he/she understands
that, even though he/she did not previously opt in to the FLSA Class,
the recovery available to Rule 23 Class Members is wholly inclusive
of the recovery available to FLSA Opt-Ins, and he/she thereby
consents to release both federal and Missouri state law overtime
claims. The Rule 23 Notice shall include a postage-paid, addressed
return envelope, and Rule 23 Class Members wishing to make a claim
under the Settlement must sign, postmark and mail Rule 23 Claim

Forms no later than sixty (60) days following the Settlement

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Administrator’s mailing of the Rule 23 Notice, and in any event, such
signed claim forms must be in the possession of or postmarked to the
Settlement Administrator or Class Counsel no later than 60 days from
the mailing of Rule 23 Notice. Only those Rule 23 Class Members
who satisfy these requirements will become “Rule 23 Claimants” for
the purposes of this Settlement Agreement.

(iti) If any Rule 23 Notices are returned by the U.S. Postal Service
(“USPS”) as undeliverable, Defendant agrees to provide (in a secure
fashion) date-of-birth information to the Settlement Administrator,
where available. The Rule 23 Notices will be promptly re-mailed to
an updated address where available following skip tracing. If, after
mailing to the updated address, the Rule 23 Notice is returned by the
USPS as undeliverable, the Parties shall be deemed to have satisfied
their obligation to provide the applicable Rule 23 Notice to that Notice
Class Member.

(iv) Within ten (10) days of obtaining Final Settlement Calculations, the
Settlement Administrator shall also issue to each FLSA Opt-In
Plaintiff who worked at any time in the state of Missouri a notice in a
form substantially similar to what is attached as Exhibit B to this
Settlement Agreement. The Notice shall inform each FLSA Opt-In
Plaintiff of his/her Eligible Settlement Amount and fully describe the

release of federal and Missouri state law claims.

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(v) Within ten (10) days of obtaining Final Settlement Calculations, the
Settlement Administrator shall also issue to each FLSA Opt-In
Plaintiff who worked exclusively outside the state of Missouri a notice
in a form substantially similar to what is attached as Exhibit C to this
Settlement Agreement. The Notice shall inform each FLSA Opt-In
Plaintiff of his/her Eligible Settlement Amount and fully describe the
release of federal claims.

(vi) Within ten (10) days of obtaining Final Settlement Calculations, Class
Counsel shall post a copy of the Settlement Agreement and any
amendments thereto on its website, and the notices described within
this Paragraph shall notify Rule 23 Class Members and FLSA Opt-in
Plaintiffs of their ability to view the Settlement documents on Class
Counsel’s website.

(d) Communications. The Settlement Administrator shall provide periodic
updates to the Parties regarding the status of the claims administration process. However, the
Settlement Administrator shall not disclose to Defendant the names of Rule 23 Claimants.

9. Release.

(a) Upon the Court entering a Final Order Approving Settlement, Rule 23
Claimants and FLSA Opt-In Plaintiffs will release all federal and state law wage and hour claims
against Defendant that were or could have been asserted in this Lawsuit, through the date of the
Final Order Approving Settlement.

(b) Rule 23 Notice recipients, who did not previously opt in to the FLSA

class, and who do not return a valid Claim Form or affirmatively exclude themselves, will

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release Defendant from any Missouri state wage and hour claims that were or could have been
asserted in this Lawsuit through the date of the Final Order Approving Settlement, but will not
release their FLSA claims, if any.

(c) Rule 23 Notice recipients, who did not previously opt in to the FLSA
class, and who submit timely requests for exclusion from the Settlement, will not release any
claims asserted in the Lawsuit and no statutes of limitations will be tolled for any period of time
for future claims such Class Members may choose to bring.

(d) | FLSA Opt-Ins who worked exclusively outside of Missouri will release all
federal wage and hour claims against Defendant that were or could have been asserted in this
Lawsuit, through the date of the Final Order Approving Settlement.

(e) The Class Representatives, if awarded their requested Services Payments,
will release all federal and Missouri state law claims against Defendant of which they know or
reasonably should know as of the date of the Final Order Approving Settlement.

(f) Such releases will be effective as of the date of the Final Order Approving
Settlement.

10. Settlement Fund. The Settlement Total Available to Class (which includes
approved Service Awards) plus Approved Attorneys’ Fees and Costs shall be paid to a Qualified
Settlement Fund established by the Settlement Administrator on or before ten (10) business days
after the Court’s approval of the Settlement has become a final, non-appealable order (which
shall be 10 business days following the final approval order if no objection is filed and 40 days
following the final approval order if an objection is filed but no appeal is filed). These funds
shall be placed in an account accessible to only the Settlement Administrator (“Qualified

Settlement Fund”).

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11. Settlement Payments.

(a) Settlement Checks. Within ten (10) days after payment is made to the
Qualified Settlement Fund, the Settlement Administrator shall issue payment from the Qualified
Settlement Fund to Class Counsel for the Court-approved attorneys’ fees and costs, to the Class
Representatives for the Court-approved Service Awards, and for the final Eligible Settlement
Amounts to FLSA Opt-In Plaintiffs and Rule 23 Claimants.

(b) Reissuing of Payments. If any settlement checks are returned as
undeliverable, the Settlement Administrator shall promptly attempt to locate the person. Upon
request by an FLSA Opt-In Plaintiff or a Rule 23 Claimant within one-hundred twenty (120)
days following issuance of the settlement checks, the Settlement Administrator will promptly
reissue checks that were mailed but not cashed by the FLSA Opt-In Plaintiff or Rule 23
Claimant. After one-hundred twenty (120) days following initial issuance of the settlement
checks (with the exception of Eligible Settlement Amounts outstanding on reissued settlement
checks only), all un-cashed checks shall be voided, a stop-pay notice will be placed on such
checks, and the amount of any proceeds remaining in the Qualified Settlement Fund shall revert
to Defendant. After two-hundred forty (240) days following initial issuance of the settlement
checks, all remaining un-cashed checks shall be voided, a stop-pay notice will be placed on such
checks, and the amount of any proceeds remaining in the Qualified Settlement Fund shall revert
to Defendant.

(c) Tax Treatment. For tax purposes, one-half of each FLSA Opt-In
Plaintiff's and Rule 23 Claimant’s settlement amount shall be deemed payment of alleged unpaid
wages, subject to all legally required garnishments, liens, wage withholding orders, regular

withholding, and similar obligations, and reported on an IRS Form W-2. The remaining one-half

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of the settlement amount shall be deemed compensation for interest and liquidated damages,
shall not be subject to payroll withholdings, and shall be reported on an IRS Form 1099. Any
such tax documents will be provided to each FLSA Opt-In Plaintiff and Rule 23 Claimant by the
Settlement Administrator. The amounts payable under this Settlement Agreement will not
trigger any additional benefits or liabilities under Defendant’s benefits plans, including any
retirement plans in which FLSA Opt-In Plaintiff's and Rule 23 Claimants participate. It is the
intent of this Settlement Agreement that the amount payable provided for in this Settlement
Agreement is the sole payment to be made by Defendant, and that no FLSA Opt-In Plaintiff or
Rule 23 Claimant shall be entitled to any new or additional compensation or benefits as a result
of having received the settlement payments (notwithstanding any contrary language or
agreement in any benefit or compensation plan document that might have been in effect during
the period covered by this Settlement Agreement). Attorneys’ fees and costs paid pursuant to
Paragraph 5 shall be paid without withholding and shall be reported to the IRS and Class
Counsel under Class Counsel’s name and taxpayer identification number, which Class Counsel
shall provide for this purpose, on an IRS Form 1099. FLSA Opt-In Plaintiffs, Rule 23
Claimants, and Class Counsel agree to indemnify Defendant should any of them fail to pay
his/her/its portion of any taxes due on the amounts payable. Defendant will bear the employer’s
share of payroll taxes separately from the Settlement Fund.

12. Potential Voiding of the Settlement Agreement. If the Court fails to approve
any material condition of this Settlement Agreement, or if the Court by its actions modifies a
material condition of this Settlement Agreement, that effects a fundamental change of the
Parties’ Settlement Agreement, the entire Settlement Agreement shall be rendered void and

unenforceable as to all Parties herein, unless expressly agreed in writing by all Parties. However,

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neither party may void the Settlement Agreement based on the Court’s approval or non-approval
of the amount of attorneys’ fees or costs or the Service Awards, provided they do not exceed the
amounts listed in this Settlement Agreement.
13. Service or Notice. Whenever, under the terms of this Settlement Agreement, a
person is required to provide service or written notice to Defendant, Defendant’s Counsel or
Class Counsel, such service or notice shall be directed to the individuals and addresses specified
below:
As to Class Counsel or Plaintiffs:
Tracey George
Davis George Mook LLC
1600 Genessee St., Suite 328
Kansas City, MO 64102

As to Defendant:
Amy Crouch
Shook Hardy & Bacon L.L.P.
2555 Grand Blvd.
Kansas City, MO 64108-2613

14. No Admission of Liability. By entering into this Settlement Agreement,
Defendant admits no liability of any kind, and Defendant expressly denies any liability or
wrongdoing. Accordingly, the parties agree that none of them has prevailed nor shall this
Settlement Agreement be construed as evidence that any party has prevailed in this matter.
Whether or not the Settlement Agreement is finally approved, neither the Settlement Agreement
nor any document, statement, proceeding, or conduct related to this Settlement Agreement, nor
any reports or accounts thereof, shall under any circumstances be:

(a) Construed as, offered or admitted in evidence as, received as, or deemed

to be evidence for any purpose adverse to the Defendant, including but not limited to evidence of

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any presumption, concession, indication, or admission by Defendant of any liability, fault,
wrongdoing, omission, concession, or damages; or

(b) Disclosed, referred to, or offered or received in evidence against
Defendant, in any further proceeding in the Lawsuit or any other civil, criminal, or
administrative action or proceeding except for purposes of settling this Lawsuit pursuant to the
Settlement Agreement.

15. Choice of Law. The enforcement of this Settlement Agreement shall be
governed and interpreted by and under the laws of the State of Missouri whether or not any party
is or may hereafter be a resident of another state.

16. Extension of Time. The parties may agree upon a reasonable extension of time
for deadlines and dates reflected in this Settlement Agreement, without further notice to the
Court, subject to Court approval as to Court dates.

17. No Waivers, Modifications, Amendments. This Settlement Agreement

 

constitutes the entire agreement of the parties concerning the subjects contained herein, and all
prior and contemporaneous negotiations and understandings between the parties shall be deemed
merged into this Settlement Agreement. No waiver, modification, or amendment of the terms of
this Settlement Agreement, whether purportedly made before or after the Court’s approval of this
Settlement Agreement, shall be valid or binding unless in writing, signed by or on behalf of all
parties and then only to the extent set forth in such written waiver, modification or amendment,
subject to any required Court approval. Any failure by any party to insist upon the strict
performance by the other party of any of the provisions of this Settlement Agreement shall not be

deemed a waiver of any of the other provisions of this Settlement Agreement, and such party,

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notwithstanding such failure, shall have the right thereafter to insist upon the specific
performance of any and all of the provisions of this Settlement Agreement.

18. Court Retains Jurisdiction to Enforce Agreement. The Court shall retain
jurisdiction with respect to the implementation and enforcement of the terms of the Settlement
Agreement, to the extent permitted by law, and all parties hereto submit to the jurisdiction of the
Court for purposes of implementing and enforcing the settlement embodied in the Settlement
Agreement. Any action to enforce this Settlement Agreement shall be commenced and
maintained only in this Court.

19. Severability. If any provision of this Settlement Agreement is determined by a
court of competent jurisdiction to be invalid or unenforceable, such determination shall not affect
the validity or enforceability of any other part or provision of this Settlement Agreement.

20. Counterparts. This Settlement Agreement shall become effective upon its
execution, subject to subsequent Court approval with the Final Order Approving Settlement and
there is no further recourse by an appellant or objector who seeks to contest the Settlement
Agreement. The parties may execute this Settlement Agreement in counterparts, and execution
in counterparts shall have the same force and effect as if the Class Representatives and
Defendant had signed the same instrument. Any signature made and transmitted by facsimile for
the purpose of executing this Settlement Agreement shall be deemed an original signature for
purposes of this Settlement Agreement and shall be binding upon the signing party.

21. Corporate Signatories. Each party executing this Settlement Agreement or any
of its exhibits on behalf of any party hereto warrants that such person has the authority to do so.
Any person executing this Settlement Agreement or any such related documents on behalf of a

corporate signatory hereby warrants and promises for the benefit of all parties hereto that such

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person is duly authorized by such corporation to execute this Settlement Agreement or any such
related documents.

22. Captions. The captions or headings of the paragraphs in this Settlement
Agreement are inserted for convenience or reference only and shall have no effect upon the

construction or interpretation of any part of this Settlement Agreement.

23. No third-party beneficiaries. This Agreement shall not be construed to create
rights in, or to grant remedies to, or to delegate any duty, obligation, or undertaking established

herein to any third party as a beneficiary of this Agreement.

24. Binding Agreement. This Agreement shall be binding upon, and inure to the
benefit of, the Parties and their affiliates, agents, employees, beneficiaries, heirs, executors,

administrators, successors and assigns.

25. Statements to the Media. The Parties’ negotiations shall be held confidential

 

other than necessary disclosures made to the Court. Class Counsel and the Named Plaintiffs
shall not issue, nor cause to be issued, any statements to the media regarding the Settlement or

any of its terms.

26. Privacy of documents and information. Named Plaintiffs and Class Counsel
agree that they will not disclose to any third parties, or use for any purpose, documents and
confidential information obtained in the course of the litigation, including information exchanged
pursuant to settlement discussions, except that this Section shall not apply in any action to
enforce or interpret the terms of this Agreement, and also shall not apply to the extent any party
is required by subpoena or other legal process to disclose this information.

[REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]

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DocuSign Envelope ID: 5054766D-A1C7-42E3-BA7E-62525758C036

PLAINTIFFS
DocuSigned by:
By: Fred. Spur
y:
\—8441788AD2E648E

 

Printed Name:___ Fred Speer

 

Title: Class Representative

 

 

Date: 11/8/2017
DocuSigned by:
yz | Mile MeCuirk
\— sco1F12casor ag

Printed Name: — Mike McGuirk

Title: Class Representative

11/8/2017
Date: 78/

 

DEFENDANT CERNER CORPORATION

By:

 

Printed Name:

 

Title:

 

Date:

 

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PLAINTIFFS

By:

 

Printed Name: Fred Speer
Title: Class Representative

Date:

 

By:

 

Printed Name: Mike McGuirk
Title:__ Class Representative

Date:

DEFENDAN a CERN ail Nea
‘By:

Printed Name: al D Sims
Title: Gowiey Wee Pwsidiatl aid Shel,
Date: || | ret }

 

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Reviewed and approved as to form by counsel:

DAVIS ole? ish Plaintiffs)

Printed Nan g EF, Georme

Date: il, 0. Sol?

SHOOK HARDY & BACON L.L.P. (for Defendant)

By:

 

Printed Name: _ Amy Crouch

Date:

 

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Reviewed and approved as to form by counsel:
DAVIS GEORGE MOOK LLC (for Plaintiffs)
By:

Printed Name:__ Tracey F. George

 

 

Date:

SHOOK H: & Bacon L.L.P. (for Defendant)
f

By:

Printed Name:___ Amy Crouch

Date: UBS I £

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EXHIBIT A

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Even If You Signed Cerner’s Arbitration Agreement, You Are Still
Eligible To Participate In This Settlement

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

NOTICE OF CLASS SETTLEMENT

This is not a solicitation from a lawyer. A Federal Court has ordered this Notice.

TO: <<First_Name>> <<Last_Name>>

YOUR ELIGIBLE SETTLEMENT AMOUNT: <<ELIGIBLE SETTLEMENT AMOUNT>>

This notice is to inform you that the Parties have reached a Settlement Agreement (“Settlement”) in the
wage and hour lawsuit entitled Fred Speer et al. v. Cerner Corporation, No. 4:14-cv-00204-FJG (W.D.
Mo.). You were previously notified that the Court certified three Missouri state law classes (described

in Paragraph 2 below), and you are a member of one or more of the Missouri classes.

This Notice is to inform you about the Settlement, including your right to return a claim form to receive a
share of the settlement funds for claims under Missouri law if the Settlement is approved. Your legal

rights are affected and you have a choice to make in this action now:

 

YOUR LEGAL RIGHTS AND OPTIONS __

 

SUBMIT A CLAIM FoRM

This is the only way to receive money in this case.

 

Get no payment from this lawsuit. But, you will retain any rights
you may have regarding the claims in this case. CAUTION: If you
wish to pursue your own, separate legal action for the claims in this
lawsuit, you should consult an attorney regarding the applicable

 

EXCLUDE YOURSELF statute of limitations prior to excluding yourself. Many of the claims
in this lawsuit cannot be pursued in a separate legal action
because, unless that lawsuit is already on file, the claims may be
time barred.

OBJECT Write the Court about why you do not like the Settlement.

 

ATTEND THE HEARING

Ask to speak to the Court about the fairness of the Settlement.

 

Do NOTHING

 

 

Receive no money. Give up certain rights.

 

This Notice explains your options. Please read it carefully. To make a claim or to exclude yourself
from the Settlement, you must act before [60 days from mailing].

 

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iz 1. WHAT IS THIS LAWSUIT ABOUT? 1 |

Plaintiffs Fred Speer and Mike McGuirk (“Class Representatives”) allege Cerner Corporation
(and/or its predecessors, successors, subsidiaries, and affiliated entities, collectively “Cerner”) violated
the Fair Labor Standards Act and Missouri state law by: (i) failing to timely pay salaried, non-exempt
employees their overtime wages, (ii) failing to properly calculate overtime wages to non-exempt
employees who earned certain types of additional compensation, and (iii) failing to comply with the
requirements for paying salaried, non-exempt employees’ overtime on a fluctuating workweek basis
(ie. half-time overtime instead of time-and-a-half overtime). Cerner denies these allegations and has
also set forth affirmative defenses. Cerner wishes to settle this litigation to avoid costly and time-
consuming litigation, but does not admit to any wrongdoing or liability.

 

[ _____2.____ WHOIS INCLUDED IN THE SETTLEMENT? _

The Court previously certified two classes under the federal Fair Labor Standards Act (“FLSA”).
Court-approved notice was issued to eligible employees, but you did not opt in to the federal classes.
Later, the Court certified the following three classes to pursue claims for untimely and improperly
calculated overtime wages under Missouri state law:

All persons employed by Cerner in Missouri, at any time between March 5, 2012—Present, and:

(1) Whose overtime was not paid on the next regular payday for the period in which the
overtime work was performed (“Late Overtime Class”); OR

(2) Who received overtime compensation that was calculated based upon a “regular rate” of
pay that excluded On-Call Pay, Wellness Incentive Bonuses, Night Differentials,
Security Differentials—ARM, Retro Wellness Incentives, and/or Holiday Differential Pay
(“Miscalculated Overtime Class”); OR

(3) Who were purportedly compensated based upon the fluctuating workweek method of
pay and: (i) whose overtime compensation was not paid on the next regular payday for
the period in which the overtime work was performed; and/or (ii) who were paid
additional compensation beyond their “fixed” salary (“Fluctuating Workweek Class’).

Cerner payroll records indicate you are a member of one or more of these three classes and you did
not exclude yourself when previously notified that the classes had been certified. This Settlement is
designed to compensate you with money for both your federal FLSA and Missouri state law wage
claims as explained in Paragraph 6 below.

]

 

[_ 3. WHAT ARE THE BENEFITS AND TERMS OF THE SETTLEMENT?

Cerner has agreed to pay $4,500,000 (“Settlement Total Available to Class”), plus attorneys’
fees and costs and administration costs, to resolve the class claims. If you elect to return a claim
form, and if the Court approves the Settlement, you will receive your Eligible Settlement Amount
reflected on page 1 of this Notice of Class Settlement.

 

Your Eligible Settlement Amount includes a Minimum Allocation of $250 (intended to
compensate for Miscalculated Overtime Class claims), plus your pro rata share of the Settlement Total
Available to Class, minus Service Awards, minus the total Minimum Allocation (“Net Settlement Total
Available to Class”). This pro rata formula is determined as follows:

(i) Rule 23 Class Members & Missouri-based FLSA Opt-in Plaintiffs.

 

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a)

b)

Rule 23 Late Overtime Class Members and FLSA Opt-in Plaintiffs who
worked in Missouri shall each receive one (1) point for each overtime
dollar Cerner paid to them on a fluctuating workweek basis (e.g. while
designated as “SNE” pay group) between March 5, 2012-June 3, 2014;
plus

Rule 23 Fluctuating Work Week Class Members and FLSA Opt-in
Plaintiffs who worked in Missouri who earned ON3, NDF, or ARM at any
time since March 5, 2012, shall each receive three (3) additional points
for each overtime dollar Cerner paid to them on a fluctuating workweek
basis (e.g. while designated as “SNE” pay group) between March 5,
2012-April 8, 2016.

(ii) FLSA Opt-in Plaintiffs Outside Missouri.

a)

Pro Rata Share. The points

FLSA Late Overtime Opt-in Plaintiffs who work(ed) exclusively outside of
Missouri, each receive one (1) point for each overtime dollar Cerner paid
to them on a fluctuating workweek basis (e.g. while designated as “SNE”
pay group) between September 7, 2012-June 3, 2014; plus

FLSA Opt-in Plaintiffs who work(ed) exclusively outside of Missouri, who
earned ON3, NDF, or ARM at any time since September 7, 2012, shall
each receive three (3) additional points for each overtime dollar Cerner
paid to them on a fluctuating workweek basis (e.g. while designated as
“SNE” pay group) between September 7, 2012-April 8, 2016.

for all Rule 23 Class Members and FLSA Opt-in Plaintiffs are totaled, and

each individual's total points are divided by the total number of all points to determine his/her
percentage allocation of the Net Settlement Total Available to Class. (“Pro Rata Share”).

One half of each Class Member’s settlement payment is considered wages and shall be subject
to the withholding of all applicable local, state, and federal taxes and any other withholdings required by

law, and will be reported on

an IRS Form W-2. The remaining one-half of the settlement payment is

considered compensation for interest and liquidated damages, will not be subject to payroll
withholdings, and will be reported on an IRS Form 1099. Please consult with your accountant or tax
advisor regarding the tax consequences of the settlement payment. Further, Class Members’

settlement payments do not

trigger any additional benefits or liabilities under Cerner’s benefit plans,

including any retirement plans in which Class Members may participate.

 

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The Court appointed
Rule 23 Class members:

Tracey F. George

4. WHO IS CLASS COUNSEL?

the following law firms and attorneys as Class Counsel to represent the

Patrick Reavey

Brett A. Davis Kevin C. Koc

DAVIS GEORGE MOOK LLC REAVEY LAW LLC

1600 Genessee, Suite 328 1600 Genessee, Suite 303
Kansas City, Missouri 64102 Kansas City, Missouri 64102

Tel: (816) 569-2629

Fax: (816) 447-3939
tracey@dgmlawyers.com
brett@dgmlawyers.com

(816) 474-6300 Telephone
(816) 474-6302 Facsimile
patrick@reaveylaw.com
kkoc@reaveylaw.com

 

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5. __ HOW MUCH ARE ATTORNEYS’ FEES, EXPENSES, AND THE SERVICE AWARDS? _|

Class Counsel has pursued the lawsuit on a contingent basis and has not received any payment
of fees or any reimbursement of their out-of-pocket expenses related to the recovery on behalf of the
Class. As part of the settlement, subject to Court Approval, Class Counsel will apply for fees in an
amount not to exceed $2,000,000, including Class Counsel's costs and expenses. Under this
settlement, Cerner will pay Class Counsel’s attorneys’ fees, costs and expenses. Participating Class
Members will not be required to make any payments to Class Counsel for attorneys’ fees or other
litigation costs from their individual settlement amounts. Class Counsel will also ask the Court to
approve service awards to the Class Representatives in an amount not to exceed $7,500 each. Class
Members may object to the terms of the settlement, to Class Counsel’s request for attorneys’ fees and
expenses, and/or to the service awards to the Class Representatives, as explained in Paragraph 9(c)
below.

 

 

6. | WHAT HAPPENS IF THE COURT APPROVES SETTLEMENT? _ |

If the Court approves the proposed Settlement, the Court will enter a judgment that will dismiss
the Litigation with prejudice on the merits as to all Class Members who do not exclude themselves.
This means that Class Members will be barred from bringing their own lawsuits for recovery against
Cerner as follows:

* Class Members who do not exclude themselves from the Settlement and who return
signed Claim Forms will receive approved Settlement money proceeds, and be bound by the
“Federal Wage Claims Release” and “Missouri State Wage Claims Release” (see below for a
complete description of released claims) that arose in the course of such Class Member's
employment with Cerner as a non-exempt employee between March 5, 2012, and the date of
the Final Settlement Approval Order (“Release Period”).

* Class Members who do nothing (e.g., do not exclude themselves from the Settlement,
and who do not return signed Claim Forms) will be bound by the “Missouri State Wage
Claims Release” and reiease those claims that arose in the course of such Class Member's
employment with Cerner during the Release Period, but they will not be bound by the “Federal
Wage Claims Release,” and those federal claims, if any, will not be released. Class Members
who do nothing will not receive any Settlement money proceeds.

* Class Members who validly and timely request exclusion from the Settlement, will not
release any federal or state wage claims, if any, and will not receive any Settlement money
proceeds.

RELEASE OF CLAIMS

Released Claims include any and all claims, rights, unknown claims, demands, liabilities, costs
and causes of action arising during the Release Period that in any way related to employment with
Cerner and that Plaintiffs alleged in this lawsuit, or which Plaintiffs could have alleged in this lawsuit,
pursuant to either Missouri state law (“State Wage Claims Release”) or federal law (“Federal Wage
Claims Release’), including but not limited to the following:

(1) Any and all claims for the failure to timely pay overtime wages and associated penalties;

(2) Any and all claims for damages or penalties under federal or state laws due to failure to
include bonus or other additional compensation payments in regular rate of pay for overtime
calculations;

 

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(3) Any and all claims for failure to meet the requirements for utilizing the fluctuating workweek
method for calculating and paying overtime wages;

(4) Any and all claims for penalties, including without limitation liquidated and/or punitive
damages relating to all claims released in subsections (1)-(3); and

(5) Any and all claims for interest, costs, attorneys’ fees, equitable relief, or other types of
available recovery relating to all claims released in subsections (1)-(4).

The “Federal Wage Claims Release” includes, but is not limited to the release of any and all
federal wage-and-hour claims, rights, demands, liabilities, and causes of action of every nature and
description, whether known or unknown (including those within the scope of pending litigation,
arbitration, and any other kind), pursuant to the Fair Labor Standards Act of 1938, as amended, 29
U.S.C. § 201 et seq., (the “FLSA”) and the Portal to Portal Act, 29 U.S.C. § 251 et seq., arising during
the Release Period, of the type described in Paragraphs 6(1)-6(5) above. These federal claims will be
released if you submit a claim form now, even if you did not previously opt-in to the federal law classes.

The “Missouri State Wage Claims Release’ includes, but is not limited to the release of any and
all Missouri state law claims, rights, demands, liabilities, and causes of action of every nature and
description, whether known or unknown (including those within the scope of pending litigation,
arbitration, and any other kind), arising during the Release Period, of the type described in Paragraphs
6(1)-6(5) above, including without limitation statutory, constitutional, contractual, or common law claims
for wages, damages, attorneys’ fees, unpaid costs, restitution, penalties, interest, or equitable relief.

Settlement Class Members who did not previously opt into the FLSA class and who do not
return a Claim Form opting into this Settlement (which includes federal claims) will only be bound by the
“Missouri State Wage Claims Release,” but not the “Federal Wage Claims Release.” Settlement Class
Members who return a signed Claim Form electing to participate in one or more Settlement Claims (as
described in Paragraph 3 above) will be bound by both the “Missouri State Wage Claims Release” and
the “Federal Wage Claims Release.” The Parties negotiated this Settlement to provide compensation,
to those who elect to participate, for both state and federal claims. The recovery available for your
Missouri state law claims is wholly inclusive of the recovery available for your federal claims. Plaintiffs
and Class Counsel agree that this Settlement represents a reasonable compromise of both state and
federal claims.

Settlement Class Members who wish to retain all their state and federal rights to pursue their
own separate lawsuit for claims described in Paragraph 6(1)-6(5), if any, must submit a timely request
for exclusion (see below).

 

[ 7. WHAT HAPPENS IF THE COURT DOES NOT APPROVE THE SETTLEMENT? _|

 

If the Court does not approve the proposed Settlement, the case will proceed as if no settlement
has been attempted and there can be no assurance that the class will recover more than is provided for
in this Settlement or anything at all.

 

= = ae 8. WHEN IS THE FAIRNESS HEARING? |

 

A hearing will be held before the Honorable Fernando J. Gaitan, District Court Judge, in the
United States District Court for the Western District of Missouri on [INSERT DATE] at [INSERT TIME]
at Charles Evans Whittaker U.S. Courthouse, 400 E. 9" Street, Kansas City, Missouri 64106,
Courtroom 7C. The purpose of the hearing is for the Court to decide whether the proposed settlement
is fair, reasonable, and adequate and should be approved and, if so, to determine what amount of
attorneys’ fees and expenses should be awarded to Class Counsel and what amount should be
awarded as a Service Award to the Class Representatives. The time and date of this hearing may be
changed without further notice.

 

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If you decide to participate in the settlement, you do not need to attend the fairness hearing to

receive money from any settlement the Court approves.

 

[

9. WHAT ARE MY OPTIONS REGARDING THE SETTLEMENT? |

If you are receiving this Notice, you have the following options:

a. Return a Signed Claim Form to Participate: Enclosed is a Settlement Claim Form. You

may elect to claim your Eligible Settlement Amount, reflected on page 1 of this Notice, by
following the instructions on the enclosed Claim Form, and signing and returning the
completed form in the enclosed, postage-paid envelope, no later than [60 DAYS FROM
MAILING].

By signing and returning a Claim Form, you acknowledge that you wish to participate in this
Settlement and receive money proceeds approved by the Court and you acknowledge that
your participation will release BOTH state and federal law claims. If the Court approves the
Settlement, you will be eligible to receive a check for your Eligible Settlement Amount, less
applicable tax and withholdings.

 

Cerner will not be informed of the identity of those who choose to participate.

- Request to be Excluded: If you wish to be excluded from the Settlement, you must timely

submit a request for exclusion. To be effective, the request for exclusion must (i) include
your full name, address, and telephone number, (ii) include your Cerner Associate |.D.
number, and (iii) specifically state your desire to be excluded from the settlement in the case
Fred Speer and Mike McGuirk, individually and on behalf of others similarly situated v.
Cerner Corporation, Case No. 4:14-cv-00204-FJG. Your request must be postmarked or
received by [60 days from mailing but no later than 15 days before the Fairness
hearing] and mailed to [INSERT TPA ADDRESS]. If you exclude yourself, you will not
receive any monies from the settlement.

Failure to include the required information or to timely submit your request will result in your
remaining a member of the Class and being bound by any Settlement and final judgment. If
you validly and timely request exclusion from the Settlement, you will not be bound by any
final judgment, and you will not be precluded from instituting or prosecuting any individual
claim you may otherwise have against Cerner related to the subject matter of this Lawsuit.
CAUTION: If you wish to pursue your own, separate legal action for the claims listed
above, you should consult an attorney regarding the applicable statute of limitations
prior to excluding yourself from this lawsuit. Many of the claims in this lawsuit
cannot be pursued in a separate legal action because, unless that lawsuit is already
on file, the claims may be time barred.

. Object: If you are a Class Member and you do not request to be excluded, you may object

to the terms of the Settlement and/or to Class Counsel’s request for attorneys’ fees and
expenses, and/or to the Service Awards to Class Representatives. If you object and the
Settlement is approved, you will be barred from bringing your own individual lawsuit
asserting claims related to the matters referred to in the Litigation, and you will be bound by
the Final Judgment and release and all Orders entered by the Court. You may, but need
not, enter an appearance through counsel of your choice. If you do, you will be responsible
for your own attorneys’ fees and costs.

If you object to the Settlement and/or to the Class Counsel's request for attorneys’ fees and
expenses, and/or to the Service Awards to the Class Representatives, you must, on or
before [60 days from mailing notice but no later than 15 days before the Fairness

 

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hearing): (1) file with the Clerk of the United States District Court for the Western District of
Missouri, and (2) serve upon Tracey George, Davis George Mook LLC, 1600 Genessee St.,
Suite 328, Kansas City, MO 64102 (Class Counsel), and to Amy Crouch, Shook Hardy &
Bacon L.L.P., 2555 Grand Blvd., Kansas City, MO 64108 (Counsel for Cerner), a written
objection including: (a) your full name, address, and telephone number, (b) your Cerner
Associate |.D. number, (c) a written statement of all grounds for the objection accompanied
by any legal support for your objection, (d) copies of any papers, briefs, or other documents
upon which the objection is based, (e) a list of all persons who will be called to testify in
support of the objection, (f) a statement of whether you intend to appear at the Fairness
Hearing, and (g) your signature, even if you are represented by counsel. If you intend to
appear at the Fairness Hearing through counsel, the objection must also state the identity of
all attorneys representing you who will appear at the Fairness Hearing. Settlement Class
Members who do not timely make their objection in this matter will be deemed to have
waived all objections and shall not be heard or have the right to appeal approval of the
settlement.

 

410. ARE THERE MORE DETAILS AVAILABLE?

 

 

For additional information you may (1) contact the Settlement Administrator at [insert TPA
contact number], (2) view the entire Settlement Agreement on Class Counsel's website at
www.dgmlawyers.com/cernersettlement or (3) contact Class Counsel by (a) calling Tracey George at
Davis George Mook LLC at 816-569-2629, or Kevin Koc at Reavey Law LLC at 816-474-6300, or (b)
sending written correspondence to Davis George Mook LLC, ATTN: Cerner Settlement, 1600
Genessee St., Suite 328, Kansas City, MO 64102.

DATED:

BY ORDER OF THE COURT

 

Clerk of the Court

 

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Even If You Signed Cerner’s Arbitration Agreement, You Are Still
Eligible To Participate In This Settlement

THIS CLAIM FORM MUST BE SIGNED AND POSTMARKED BY [DATE]

 

Fred Speer et al. v. Cerner Corporation
USS. District Court, Western District of Missouri, Case No. 4:14-cv-00204-FJG

SETTLEMENT CLAIM FORM

 

<<First_Name>> <<Last_Name>> CLAIM NUMBER: <<CLAIM NO>>
<<ADDRESS>>
<<CITY, STATE ZIPCODE>>

ELIGIBLE SETTLEMENT AMOUNT: <<ELIGIBLE SETTLEMENT AMOUNT>>

You should have reviewed the Rule 23 Settlement Notice mailed with this Claim Form to understand
your rights under the preliminary Settlement of the wage claims asserted in this Lawsuit. If, after
reviewing that Notice, you wish to participate in the Settlement and you consent to the release of BOTH
your state and federal law claims, you must complete this Claim Form and return it no later than [60
days from mailing].

If the Court grants final approval of the Settlement and you timely return this completed Claim Form,
you will receive the Eligible Settlement Amount listed above, less applicable taxes and withholdings.

CLAIMANT VERIFICATION

By signing below, | verify that | give my consent to participate in and make a claim against the
Settlement. | agree and understand that if the proposed Settlement is approved by the Court and
becomes effective, then | will release both the Missouri state law and federal law claims described in
the Settlement Notice, which accompanied this Claim Form. | understand that, even though | did not
previously opt-in to the FLSA Class, the recovery available to me now is wholly inclusive of the
recovery available to FLSA Opt-Ins, and | thereby consent to release both federal and state overtime
claims.

 

 

Signature Date Signed

Cerner will not be informed of the identity of those who choose to participate.

IMPORTANT: If you have a name or address change, please fill out the form
on the back of this page.

 

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EXHIBIT B

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NOTICE OF PROPOSED FEDERAL LAW COLLECTIVE AND MISSOURI
STATE LAW CLASS ACTION SETTLEMENT

Fred Speer et al. v. Cerner Corporation
U.S. District Court, Western District of Missouri, Case No. 4:14-cv-00204-FJG

YOU MAY BE ENTITLED TO BENEFITS UNDER THIS
SETTLEMENT.

 

 

You previously returned a consent to join this case. A Federal Court has ordered this Notice.
TO: <<First_Name>> <<Last_Name>>
YOUR ELIGIBLE SETTLEMENT AMOUNT: <<ELIGIBLE SETTLEMENT AMOUNT>>

This notice is to inform you that the Parties have reached a Settlement Agreement (“Settlement”) in the
wage and hour lawsuit entitled Fred Speer et al. v. Cerner Corporation, No. 4:14-cv-00204-FJG (W.D.
Mo.). You previously received notice of and consented to join this lawsuit against Cerner Corporation
to recover unpaid overtime wages under the Fair Labor Standards Act (federal law). You were later
notified that the Court certified three Missouri state law classes (described in Paragraph 2 below), and,
because you did not exclude yourself, you are also a member of one or more of the Missouri classes.

This Notice is to inform you about the Settlement, including your right to receive a share of the
settlement funds for claims under both the Fair Labor Standards Act (federal law) and Missouri state
law if the Court approves the Settlement. You do not need to do anything to participate in this
Settlement and receive money proceeds. However, your legal rights are affected and you have
options:

 

 

YOUR LEGAL RIGHTS AND OPTIONS

 

Get a money payment for your share of the Settlement, if the Court

Do NOTHING approves it. Release your Missouri state and federal wage claims.

 

Get no payment from this lawsuit. But, you will retain any rights
you may have regarding the claims in this case. CAUTION: If you
wish to pursue your own, separate legal action for the claims in this
lawsuit, you should consult an attorney regarding the applicable
statute of limitations prior to excluding yourself. Many of the claims
in this lawsuit cannot be pursued in a separate legal action
because, unless that lawsuit is already on file, the claims may be
time barred.

EXCLUDE YOURSELF

 

OBJECT Write the Court about why you do not like the Settlement.

 

ATTEND THE HEARING Ask to speak to the Court about the fairness of the Settlement.

 

 

 

 

 

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This Notice explains your options. Please read it carefully. To exclude yourself from the Settlement,
you must act before [60 days from mailing].

 

1. WHAT IS THIS LAWSUIT ABOUT? E~ ° if |

Plaintiffs Fred Speer and Mike McGuirk (“Class Representatives”) allege Cerner Corporation
(and/or its predecessors, successors, subsidiaries, and affiliated entities, collectively “Cerner’) violated
the federal Fair Labor Standards Act and Missouri state law by: (i) failing to timely pay salaried, non-
exempt employees their overtime wages, (ii) failing to properly calculate overtime wages to non-exempt
employees who earned certain types of additional compensation, and (iii) failing to comply with the
requirements for paying salaried, non-exempt employees’ overtime on a fluctuating workweek basis
(i.e., half-time overtime instead of time-and-a-half overtime). Cerner denies these allegations and has
also set forth affirmative defenses. Cerner wishes to settle this litigation to avoid costly and time-
consuming litigation, but does not admit to any wrongdoing or liability.

 

2. WHOIS INCLUDED IN THE SETTLEMENT? |

The Court previously certified two classes under the federal Fair Labor Standards Act (“FLSA”). You
received notice and consented to opt in to those classes. Later, the Court certified the following three
“Rule 23” classes to pursue claims for untimely and improperly calculated overtime wages under
Missouri state law:

All persons employed by Cerner in Missouri, at any time between March 5, 2012—Present, and:

(1) Whose overtime was not paid on the next regular payday for the period in which the
overtime work was performed (“Late Overtime Class”); OR

(2) Who received overtime compensation that was calculated based upon a “regular rate” of
pay that excluded On-Call Pay, Wellness Incentive Bonuses, Night Differentials,
Security Differentials—ARM, Retro Wellness Incentives, and/or Holiday Differential Pay
(“Miscalculated Overtime Class”); OR

(3) Who were purportedly compensated based upon the fluctuating workweek method of
pay and: (i) whose overtime compensation was not paid on the next regular payday for
the period in which the overtime work was performed; and/or (ii) who were paid
additional compensation beyond their “fixed” salary (“Fluctuating Workweek Class”).

Cerner payroll records indicate you are a member of one or more of these three Rule 23 classes and
you did not exclude yourself when previously notified that the classes had been certified. This
Settlement is designed to compensate you with money for both your federal FLSA and Missouri state
law wage claims as explained in Paragraph 6 below.

 

 

3. |_WHAT ARE THE BENEFITS AND TERMS OF THE SETTLEMENT? ~

Cerner has agreed to pay $4,500,000 (“Settlement Total Available to Class”), plus attorneys’
fees and costs and administration costs, to resolve the class claims. If you do nothing, and if the
Court approves the Settlement, you will receive your Eligible Settlement Amount reflected on page 1 of
this Notice.

Your Eligible Settlement Amount includes a Minimum Allocation of $250 (intended to compensate for
Miscalculated Overtime Class claims), plus your pro rata share of the Settlement Total Available to

 

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Class, minus Service Awards, minus the total Minimum Allocation (“Net Settlement Total Available to
Class”). This pro rata formula is determined as follows:

(i) Rule 23 Class Members & Missouri-based FLSA Opt-in Plaintiffs.

a)

b)

Rule 23 Late Overtime Class Members and FLSA Opt-in Plaintiffs who
worked in Missouri shall each receive one (1) point for each overtime
dollar Cerner paid to them on a fluctuating workweek basis (e.g. while
designated as “SNE” pay group) between March 5, 2012-June 3, 2014;
plus

Rule 23 Fluctuating Work Week Class Members and FLSA Opt-in
Plaintiffs who worked in Missouri who earned ON3, NDF, or ARM at any
time since March 5, 2012, shall each receive three (3) additional points
for each overtime dollar Cerner paid to them on a fluctuating workweek
basis (e.g. while designated as “SNE” pay group) between March 5,
2012-April 8, 2016.

(ii) FLSA Opt-in Plaintiffs Outside Missouri.

a)

b)

FLSA Late Overtime Opt-in Plaintiffs wno work(ed) exclusively outside of
Missouri, each receive one (1) point for each overtime dollar Cerner paid
to them on a fluctuating workweek basis (e.g. while designated as “SNE”
pay group) between September 7, 2012-June 3, 2014; plus

FLSA Opt-in Plaintiffs who work(ed) exclusively outside of Missouri, who
earned ON3, NDF, or ARM at any time since September 7, 2012, shall
each receive three (3) additional points for each overtime dollar Cerner
paid to them on a fluctuating workweek basis (e.g. while designated as
“SNE” pay group) between September 7, 2012-April 8, 2016.

Pro Rata Share. The points for all Rule 23 Class Members and FLSA Opt-in Plaintiffs are totaled, and
each individual’s total points are divided by the total number of all points to determine his/her
percentage allocation of the Net Settlement Total Available to Class. (“Pro Rata Share’).

One half of each Class Member's settlement payment is considered wages and shall be subject
to the withholding of all applicable local, state, and federal taxes and any other withholdings required by
law, and will be reported on an IRS Form W-2. The remaining one-half of the settlement payment is
considered compensation for interest and liquidated damages, will not be subject to payroll
withholdings, and will be reported on an IRS Form 1099. Please consult with your accountant or tax
advisor regarding the tax consequences of the settlement payment. Further, Class Members’
settlement payments do not trigger any additional benefits or liabilities under Cerner’s benefit plans,
including any retirement plans in which Class Members may participate.

4. WHOIS CLASS COUNSEL?

 

 

The Court appointed the following law firms and attorneys as Class Counsel to represent the

Opt-in Plaintiffs:

Tracey F. George

Patrick Reavey

Brett A. Davis Kevin C. Koc

DAVIS GEORGE MOOK LLC REAVEY LAW LLC

1600 Genessee, Suite 328 1600 Genessee, Suite 303
Kansas City, Missouri 64102 Kansas City, Missouri 64102

 

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Tel: (816) 569-2629 (816) 474-6300 Telephone

Fax: (816) 447-3939 (816) 474-6302 Facsimile
tracey@dgmlawyers.com patrick@reaveylaw.com
brett@dgmlawyers.com kkoc@reaveylaw.com

 

|__5. | HOW MUCH ARE ATTORNEYS’ FEES, EXPENSES, AND THE SERVICE AWARDS? _|

 

Class Counsel has pursued the lawsuit on a contingent basis and has not received any payment
of fees or any reimbursement of their out-of-pocket expenses related to the recovery on behalf of the
Class. As part of the settlement, subject to Court Approval, Class Counsel will apply for fees in an
amount not to exceed $2,000,000, including Class Counsel's costs and expenses. Under this
settlement, Cerner will pay Class Counsel's attorneys’ fees, costs and expenses. Participating Class
Members will not be required to make any payments to Class Counsel for attorneys’ fees or other
litigation costs from their individual settlement amounts. Class Counsel will also ask the Court to
approve service awards to the Class Representatives in an amount not to exceed $7,500 each. Class
Members may object to the terms of the settlement, to Class Counsel's request for attorneys’ fees and
expenses, and/or to the service awards to the Class Representatives, as explained in Paragraph 9(c)
below.

 

 

6. |_| WHAT HAPPENS IF THE COURT APPROVES SETTLEMENT? zs:

 

 

If the Court approves the proposed Settlement, the Court will enter a judgment that will dismiss
the Litigation with prejudice on the merits as to all FLSA Opt-In Plaintiffs who worked in Missouri
(“Missouri-based FLSA Opt-In Plaintiffs”) who do not exclude themselves. Missouri-based FLSA Opt-In
Plaintiffs will be barred from bringing their own lawsuits for recovery against Cerner as follows:

* Missouri-based FLSA Opt-in Plaintiffs Who Do Nothing will receive approved Settlement
money proceeds and will be bound by the “Federal Wage Claims Release” and “Missouri State
Wage Claims Release” (see below for a complete description of released claims) that arose in
the course of such Plaintiffs employment with Cerner as a non-exempt employee up through
the date of the Final Settlement Approval Order (“Release Period”).

 

¢ Missouri-based FLSA Opt-in Plaintiffs who validly and timely request exclusion from the
Settlement, will not release any federal or Missouri state wage claims, if any, and will not
receive any Settlement money proceeds.

RELEASE OF CLAIMS

Released Claims include any and all claims, rights, unknown claims, demands, liabilities, costs
and causes of action arising during the Release Period that in any way related to employment with
Cerner and that Plaintiffs alleged in this lawsuit, or which Plaintiffs could have alleged in this lawsuit,
pursuant to either Missouri state law (“Missouri State Wage Claims Release”) or federal law (“Federal
Wage Claims Release”), including but not limited to the following:

(1) Any and all claims for the failure to timely pay overtime wages and associated penalties;

(2) Any and all claims for damages or penalties under federal or state laws due to failure to
include bonus or other additional compensation payments in regular rate of pay for overtime
calculations;

(3) Any and all claims for failure to meet the requirements for utilizing the fluctuating workweek
method for calculating and paying overtime wages;

 

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(4) Any and all claims for penalties, including without limitation liquidated and/or punitive
damages relating to all claims released in subsections (1)-(3); and

(5) Any and all claims for interest, costs, attorneys’ fees, equitable relief, or other types of
available recovery relating to all claims released in subsections (1)-(4).

The “Federal Wage Claims Release” includes, but is not limited to the release of any and all
federal wage-and-hour claims, rights, demands, liabilities, and causes of action of every nature and
description, whether known or unknown (including those within the scope of pending litigation,
arbitration, and any other kind), pursuant to the Fair Labor Standards Act of 1938, as amended, 29
U.S.C. § 201 et seq., (the “FLSA”) and the Portal to Portal Act, 29 U.S.C. § 251 et seq., arising during
the Release Period, of the type described in Paragraphs 6(1)-6(5) above.

The “Missouri State Wage Claims Release” includes, but is not limited to the release of any and
all Missouri state law claims, rights, demands, liabilities, and causes of action of every nature and
description, whether known or unknown (including those within the scope of pending litigation,
arbitration, and any other kind), arising during the Release Period, of the type described in Paragraphs
6(1)-6(5) above, including without limitation statutory, constitutional, contractual, or common law claims
for wages, damages, attorneys’ fees, unpaid costs, restitution, penalties, interest, or equitable relief.

Missouri-based FLSA Opt-In Plaintiffs who do nothing, will receive Settlement money proceeds
approved by the Court and will be bound by both the “Missouri State Wage Claims Release” and the
“Federal Wage Claims Release.” The Parties negotiated this Settlement to provide compensation to
Opt-In Plaintiffs for both Missouri state and federal claims. The recovery available for your Missouri
state law claims is wholly inclusive of the recovery available for your federal claims. And, Plaintiffs and
Class Counsel agree that this Settlement represents a reasonable compromise of both Missouri state
and federal claims.

Opt-In Plaintiffs who wish to retain all of their Missouri state and federal rights to pursue their
own separate lawsuit for claims described in Paragraph 6(1)-6(5), if any, must submit a timely request
for exclusion (see below).

 

7. WHAT HAPPENS IF THE COURT DOES NOT APPROVE THE SETTLEMENT?

 

If the Court does not approve the proposed Settlement, the case will proceed as if no settlement
has been attempted and there can be no assurance that the class will recover more than is provided for
in this Settlement or anything at all.

 

i 8. WHEN IS THE FAIRNESS HEARING? |

 

A hearing will be held before the Honorable Fernando J. Gaitan, District Court Judge, in the
United States District Court for the Western District of Missouri on [INSERT DATE] at [INSERT TIME]
at Charles Evans Whittaker U.S. Courthouse, 400 E. 9" Street, Kansas City, Missouri 64106,
Courtroom 7C. The purpose of the hearing is for the Court to decide whether the proposed settlement
is fair, reasonable, and adequate and should be approved and, if so, to determine what amount of
attorneys’ fees and expenses should be awarded to Class Counsel and what amount should be
awarded as a Service Award to the Class Representatives. The time and date of this hearing may be
changed without further notice.

If you decide to participate in the settlement, you do not need to attend the fairness hearing to
receive money from any settlement the Court approves.

 

9. WHAT ARE MY OPTIONS REGARDING THE SETTLEMENT? |

 

 

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As an individual who previously opted in to the classes certified under federal law, you now
have the following options with respect to your federal law and Missouri state law claims:

a. Do Nothing and Accept Settlement Proceeds: You have already consented to join this
action with respect to your federal claims and if you do nothing and the Court approves the
Settlement, you will participate in this Settlement and receive your Eligible Settlement
Amount, less applicable taxes and withholdings. Your Eligible Settlement Amount will
compensate you for BOTH your federal and your Missouri state law claims. The Missouri
state law claims cover a longer period of time than the federal claims. Your Eligible
Settlement Amount was calculated using the longer period of time applicable to claims
under Missouri state law and the recovery available for your Missouri state law claims is
wholly inclusive of the recovery available for your federal claims.

b. Request to be Excluded: If you wish to be excluded from the Settlement, you must timely
submit a request for exclusion. To be effective, the request for exclusion must (i) include
your full name, address, and telephone number, (ii) include your Cerner Associate |.D.
number, and (iii) specifically state your desire to be excluded from the settlement in the case
Fred Speer and Mike McGuirk, individually and on behalf of others similarly situated v.
Cerner Corporation, Case No. 4:14-cv-00204-FJG. Your request must be postmarked or
received by [60 days from mailing but no later than 15 days before the Fairness
hearing] and mailed to [INSERT TPA ADDRESS]. If you exclude yourself, you will not
receive any monies from the settlement.

Failure to include the required information or to timely submit your request will result in your
remaining a member of the Class and being bound by any Settlement and final judgment. If
you validly and timely request exclusion from the Settlement, you will not be bound by any
final judgment, and you will not be precluded from instituting or prosecuting any individual
claim you may otherwise have against Cerner related to the subject matter of this Lawsuit.
CAUTION: If you wish to pursue your own, separate legal action for the claims listed
above, you should consult an attorney regarding the applicable statute of limitations
prior to excluding yourself from this lawsuit. Many of the claims in this lawsuit
cannot be pursued in a separate legal action because, unless that lawsuit is already
on file, the claims may be time barred.

c. Object: If you are a Class Member and you do not request to be excluded, you may object
to the terms of the Settlement and/or to Class Counsel's request for attorneys’ fees and
expenses, and/or to the Service Awards to Class Representatives. If you object and the
Settlement is approved, you will be barred from bringing your own individual lawsuit
asserting claims related to the matters referred to in the Litigation, and you will be bound by
the Final Judgment and release and all Orders entered by the Court. You may, but need
not, enter an appearance through counsel of your choice. If you do, you will be responsible
for your own attorneys’ fees and costs.

If you object to the Settlement and/or to the Class Counsel’s request for attorneys’ fees and
expenses, and/or to the Service Awards to the Class Representatives, you must, on or
before [60 days from mailing notice but no later than 15 days before the Fairness
hearing]: (1) file with the Clerk of the United States District Court for the Western District of
Missouri, and (2) serve upon Tracey George, Davis George Mook LLC, 1600 Genessee St.,
Suite 328, Kansas City, MO 64102 (Class Counsel), and to Amy Crouch, Shook Hardy &
Bacon L.L.P., 2555 Grand Blvd., Kansas City, MO 64108 (Counsel for Cerner), a written
objection including: (a) your full name, address, and telephone number, (b) your Cerner
Associate |.D. number, (c) a written statement of all grounds for the objection accompanied
by any legal support for your objection, (d) copies of any papers, briefs, or other documents
upon which the objection is based, (e) a list of all persons who will be called to testify in

 

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support of the objection, (f) a statement of whether you intend to appear at the Fairness
Hearing, and (g) your signature, even if you are represented by counsel. If you intend to
appear at the Fairness Hearing through counsel, the objection must also state the identity of
all attorneys representing you who will appear at the Fairness Hearing. Class Members who
do not timely make their objection in this matter will be deemed to have waived all objections
and shall not be heard or have the right to appeal approval of the settlement.

 

[hum _______10, _ ARE THERE MORE DETAILS AVAILABLE? _

 

For additional information you may (1) contact the Settlement Administrator at [insert TPA
contact number], (2) view the entire Settlement Agreement on Class Counsel's website at
www.dgmlawyers.com/cernersettlement or (3) contact Class Counsel by (a) calling Tracey George at
Davis George Mook LLC at 816-569-2629, or Kevin Koc at Reavey Law LLC at 816-474-6300, or (b)
sending written correspondence to Davis George Mook LLC, ATTN: Cerner Settlement, 1600
Genessee St., Suite 328, Kansas City, MO 64102.

DATED: BY ORDER OF THE COURT
Clerk of the Court

 

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EXHIBIT C

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NOTICE OF PROPOSED FEDERAL LAW COLLECTIVE ACTION
SETTLEMENT

Fred Speer et al. v. Cerner Corporation
US. District Court, Western District of Missouri, Case No. 4:14-cv-00204-FJG

YOU MAY BE ENTITLED TO BENEFITS UNDER THIS
SETTLEMENT.

You previously returned a consent to join this case. A Federal Court has ordered this Notice.

 

TO: <<First_Name>> <<Last_Name>>
YOUR ELIGIBLE SETTLEMENT AMOUNT: <<ELIGIBLE SETTLEMENT AMOUNT>>

This notice is to inform you that the Parties have reached a Settlement Agreement (“Settlement”) in the
wage and hour lawsuit entitled Fred Speer et al. v. Cerner Corporation, No. 4:14-cv-00204-FJG (W.D.
Mo.). You previously received notice of and consented to join this lawsuit against Cerner Corporation
to recover unpaid overtime wages under the Fair Labor Standards Act (federal law).

This Notice is to inform you about the Settlement, including your right to receive a share of the
settlement funds for claims under the Fair Labor Standards Act (federal law) if the Court approves the
Settlement. You do not need to do anything to participate in this Settlement and receive money
proceeds. However, your legal rights are affected and you have options:

 

_YOUR LEGAL RIGHTS AND OPTIONS

 

Get a money payment for your share of the Settlement, if the Court

 

Do NOTHING approves it. Release your federal wage claims.
Get no payment from this lawsuit. But, you will retain any rights
you may have regarding the claims in this case. CAUTION: If you
wish to pursue your own, separate legal action for the claims in this
EXCLUDE YOURSELF lawsuit, you should consult an attorney regarding the applicable

statute of limitations prior to excluding yourself. Many of the claims
in this lawsuit cannot be pursued in a separate legal action
because, unless that lawsuit is already on file, the claims may be
time barred.

 

 

 

 

This Notice explains your options. Please read it carefully. To exclude yourself from the Settlement,
you must act before [60 days from mailing].

 

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[pee 1. WHAT IS THIS LAWSUIT ABOUT? |

 

Plaintiffs Fred Speer and Mike McGuirk (“Class Representatives”) allege Cerner Corporation
(and/or its predecessors, successors, subsidiaries, and affiliated entities, collectively “Cerner”) violated
the federal Fair Labor Standards Act by: (i) failing to timely pay salaried, non-exempt employees their
overtime wages, (ii) failing to properly calculate overtime wages to non-exempt employees who earned
certain types of additional compensation, and (iii) failing to comply with the requirements for paying
salaried, non-exempt employees’ overtime on a fluctuating workweek basis (i.e., half-time overtime
instead of time-and-a-half overtime). Cerner denies these allegations and has also set forth affirmative
defenses. Cerner wishes to settle this litigation to avoid costly and time-consuming litigation, but does
not admit to any wrongdoing or liability.

 

| : ____2.___ WHOIS INCLUDED IN THE SETTLEMENT?

The Parties reached a Settlement Agreement, which will repay you and the others who
previously consented to join this lawsuit (the “Opt-in Plaintiffs”) for the time period of September 7,
2012-present (the “Class Period’).

 

= 3. ___ WHAT ARE THE BENEFITS AND TERMS OF THE SETTLEMENT?

 

Cerner has agreed to pay $4,500,000 (“Settlement Total Available to Class”), plus attorneys’
fees and costs and administration costs, to resolve the class claims. If you do nothing, and if the
Court approves the Settlement, you will receive your Eligible Settlement Amount reflected on page 1 of
this Notice.

Your Eligible Settlement Amount includes a Minimum Allocation of $250 (intended to compensate for
Miscalculated Overtime Class claims), plus your pro rata share of the Settlement Total Available to
Class, minus Service Awards, minus the total Minimum Allocation (“Net Settlement Total Available to
Class”). This pro rata formula is determined as follows:

(i) Rule 23 Class Members & Missouri-based FLSA Opt-in Plaintiffs.

a) Rule 23 Late Overtime Class Members and FLSA Opt-in Plaintiffs who
worked in Missouri shall each receive one (1) point for each overtime
dollar Cerner paid to them on a fluctuating workweek basis (e.g. while
designated as “SNE” pay group) between March 5, 2012-June 3, 2014:
plus

b) Rule 23 Fluctuating Work Week Class Members and FLSA Opt-in
Plaintiffs who worked in Missouri who earned ON3, NDF, or ARM at any
time since March 5, 2012, shall each receive three (3) additional points
for each overtime dollar Cerner paid to them on a fluctuating workweek
basis (e.g. while designated as “SNE” pay group) between March 5,
2012-April 8, 2016.

(ii) FLSA Opt-in Plaintiffs Outside Missouri.

a) FLSA Late Overtime Opt-in Plaintiffs who work(ed) exclusively outside of
Missouri, each receive one (1) point for each overtime dollar Cerner paid
to them on a fluctuating workweek basis (e.g. while designated as “SNE”
pay group) between September 7, 2012-June 3, 2014; plus

 

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b) FLSA Opt-in Plaintiffs who work(ed) exclusively outside of Missouri, who
earned ON3, NDF, or ARM at any time since September 7, 2012, shall
each receive three (3) additional points for each overtime dollar Cerner
paid to them on a fluctuating workweek basis (e.g. while designated as
“SNE” pay group) between September 7, 2012-April 8, 2016.

Pro Rata Share. The points for all Rule 23 Class Members and FLSA Opt-in Plaintiffs are totaled, and
each individual’s total points are divided by the total number of all points to determine his/her
percentage allocation of the Net Settlement Total Available to Class. (“Pro Rata Share’).

One half of each Class Member’s settlement payment is considered wages and shall be subject
to the withholding of all applicable local, state, and federal taxes and any other withholdings required by
law, and will be reported on an IRS Form W-2. The remaining one-half of the settlement payment is
considered compensation for interest and liquidated damages, will not be subject to payroll
withholdings, and will be reported on an IRS Form 1099. Please consult with your accountant or tax
advisor regarding the tax consequences of the settlement payment. Further, Class Members’
settlement payments do not trigger any additional benefits or liabilities under Cerner’s benefit plans,
including any retirement plans in which Class Members may participate.

 

4. WHOIS CLASS COUNSEL?

The Court appointed the following law firms and attorneys as Class Counsel to represent the
Opt-in Plaintiffs:

Tracey F. George Patrick Reavey

Brett A. Davis Kevin C. Koc

DAVIS GEORGE MOOK LLC REAVEY LAW LLC

1600 Genessee, Suite 328 1600 Genessee, Suite 303
Kansas City, Missouri 64102 Kansas City, Missouri 64102
Tel: (816) 569-2629 (816) 474-6300 Telephone
Fax: (816) 447-3939 (816) 474-6302 Facsimile
tracey@dgmlawyers.com patrick@reaveylaw.com
brett@dgmlawyers.com kkoc@reaveylaw.com

 

 

5. HOW MUCH ARE ATTORNEYS’ FEES, EXPENSES, AND THE SERVICE AWARDS?

Class Counsel has pursued the lawsuit on a contingent basis and has not received any payment
of fees or any reimbursement of their out-of-pocket expenses related to the recovery on behalf of the
Class. As part of the settlement, subject to Court Approval, Class Counsel will apply for fees in an
amount not to exceed $2,000,000, including Class Counsel’s costs and expenses. Under this
settlement, Cerner will pay Class Counsel's attorneys’ fees, costs and expenses. Participating Class
Members will not be required to make any payments to Class Counsel for attorneys’ fees or other
litigation costs from their individual settlement amounts. Class Counsel will also ask the Court to
approve service awards to the Class Representatives in an amount not to exceed $7,500 each. Class
Members may object to the terms of the settlement, to Class Counsel’s request for attorneys’ fees and
expenses, and/or to the service awards to the Class Representatives, as explained in Paragraph 9(c)
below.

 

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_6. | WHAT HAPPENS IF THE COURT APPROVES SETTLEMENT? _—__ |

lf the Court approves the proposed Settlement, the Court will enter a judgment that will dismiss
the Litigation with prejudice on the merits as to all FLSA Opt-In Plaintiffs who do not exclude
themselves. This means that FLSA Opt-In Plaintiffs will be barred from bringing their own lawsuits for
recovery against Cerner as follows:

* FLSA Opt-In Plaintiffs who do nothing will receive approved Settlement money proceeds and
be bound by the “Federal Wage Claims Release” (see below for a complete description of
released claims) that arose in the course of such Plaintiffs employment with Cerner as a non-
exempt employee up through the date of the Final Settlement Approval Order (“Release
Period”).

 

¢ FLSA Opt-In Plaintiffs who validly and timely request exclusion from the Settlement will
not release any Federal wage claims, if any, and will not receive any Settlement money
proceeds.

RELEASE OF CLAIMS

Released Claims include any and all claims, rights, unknown claims, demands, liabilities, costs
and causes of action arising during the Release Period that in any way related to employment with
Cerner and that Plaintiffs alleged in this lawsuit, or which Plaintiffs could have alleged in this lawsuit
pursuant to federal law (“Federal Wage Claims Release”), including but not limited to the following:

(1) Any and all claims for the failure to timely pay overtime wages and associated penalties;

(2) Any and all claims for damages or penalties under federal law due to failure to include
bonus or other additional compensation payments in regular rate of pay for overtime
calculations;

(3) Any and all claims for failure to meet the requirements for utilizing the fluctuating workweek
method for calculating and paying overtime wages;

(4) Any and all claims for penalties, including without limitation liquidated and/or punitive
damages relating to all claims released in subsections (1)-(3); and

(5) Any and all claims for interest, costs, attorneys’ fees, equitable relief, or other types of
available recovery relating to all claims released in subsections (1)-(4).

The “Federal Wage Claims Release” includes, but is not limited to the release of any and all
federal wage-and-hour claims, rights, demands, liabilities, and causes of action of every nature and
description, whether known or unknown (including those within the scope of pending litigation,
arbitration, and any other kind), pursuant to the Fair Labor Standards Act of 1938, as amended, 29
U.S.C. § 201 et seq., (the “FLSA”) and the Portal to Portal Act, 29 U.S.C. § 251 et seq., arising during
the Release Period, of the type described in Paragraphs 6(1)-6(5) above.

FLSA Opt-in Plaintiffs who do nothing will receive Settlement money proceeds approved by the
Court, and will be bound by the “Federal Wage Claims Release.”

Opt-In Plaintiffs who wish to retain all of their Federal rights to pursue their own separate lawsuit
for claims described in Paragraph 6(1)-6(5), if any, must submit a timely request for exclusion (see
below).

 

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7. ___ WHAT HAPPENS IF THE COURT DOES NOT APPROVE THE SETTLEMENT? __|

If the Court does not approve the proposed Settlement, the case will proceed as if no settlement

has been attempted and there can be no assurance that the class will recover more than is provided for
in this Settlement or anything at all.

 

_8.__ WHEN IS THE FAIRNESS HEARING? ess

A hearing will be held before the Honorable Fernando J. Gaitan, District Court Judge, in the

United States District Court for the Western District of Missouri on [INSERT DATE] at [INSERT TIME]
at Charles Evans Whittaker U.S. Courthouse, 400 E. 9" Street, Kansas City, Missouri 64106,
Courtroom 7C. The purpose of the hearing is for the Court to decide whether the proposed settlement
is fair, reasonable, and adequate and should be approved and, if so, to determine what amount of
attorneys’ fees and expenses should be awarded to Class Counsel and what amount should be
awarded as a Service Award to the Class Representatives. The time and date of this hearing may be
changed without further notice.

If you decide to participate in the settlement, you do not need to attend the fairness hearing to

receive money from any settlement the Court approves.

 

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__9. WHAT ARE MY OPTIONS REGARDING THE SETTLEMENT? —__ “|

As an individual who previously opted in to the classes certified under federal law you now have

the following options with respect to your federal law claims:

a. Do Nothing and Accept Settlement Proceeds: You have already consented to join this

action with respect to your federal claims, and if you do nothing and the Court approves the
Settlement, you will participate in this Settlement and receive your Eligible Settlement
Amount, less applicable taxes and withholdings. You will release your federal law claims.

. Request to be Excluded: If you wish to be excluded from the Settlement, you must timely

submit a request for exclusion. To be effective, the request for exclusion must (i) include
your full name, address, and telephone number, (ii) include your Cerner Associate |.D.
number, and (iii) specifically state your desire to be excluded from the settlement in the case
Fred Speer and Mike McGuirk, individually and on behalf of others similarly situated v.
Cerner Corporation, Case No. 4:14-cv-00204-FJG. Your request must be postmarked or
received by [60 days from mailing but no later than 15 days before the Fairness
hearing] and mailed to [INSERT TPA ADDRESS]. If you exclude yourself, you will not
receive any monies from the settlement.

Failure to include the required information or to timely submit your request will result in your
remaining a member of the Class and being bound by any Settlement and final judgment. If
you validly and timely request exclusion from the Settlement, you will not be bound by any
final judgment, and you will not be precluded from instituting or prosecuting any individual
claim you may otherwise have against Cerner related to the subject matter of this Lawsuit.
CAUTION: If you wish to pursue your own, separate legal action for the claims listed
above, you should consult an attorney regarding the applicable statute of limitations
prior to excluding yourself from this lawsuit. Many of the claims in this lawsuit

. cannot be pursued in a separate legal action because, unless that lawsuit is already

on file, the claims may be time barred.

 

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= __10. ARE THERE MORE DETAILS AVAILABLE? |

For additional information you may (1) contact the Settlement Administrator at [insert TPA
contact number], (2) view the entire Settlement Agreement on Class Counsel’s website at
www.dgmlawyers.com/cernersettlement or (3) contact Class Counsel by (a) calling Tracey George at
Davis George Mook LLC at 816-569-2629, or Kevin Koc at Reavey Law LLC at 816-474-6300, or (b)
sending written correspondence to Davis George Mook LLC, ATTN: Cerner Settlement, 1600
Genessee St., Suite 328, Kansas City, MO 64102.

DATED: BY ORDER OF THE COURT
Clerk of the Court

 

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